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                  United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                       ____________


No. 24-1077                                                 September Term, 2023
                                                                    FERC-ER18-1639-000
                                                                    FERC-ER18-1639-028
                                                   Filed On: April 4, 2024 [2048235]
Constellation Mystic Power, LLC,

               Petitioner

        v.

Federal Energy Regulatory Commission,

               Respondent

                                         ORDER

      The petition for review in this case was filed and docketed on April 3, 2024, and
assigned the above number. It is, on the court's own motion,

       ORDERED that petitioner submit the documents listed below by the dates
indicated.

         Certificate as to Parties, Rulings, and
                                                                       May 6, 2024
         Related Cases
         Docketing Statement Form                                      May 6, 2024
         Procedural Motions, if any                                    May 6, 2024
         Statement of Intent to Utilize Deferred
                                                                       May 6, 2024
         Joint Appendix
         Statement of Issues to be Raised                              May 6, 2024
         Underlying Decision from Which Appeal
                                                                       May 6, 2024
         or Petition Arises
         Dispositive Motions, if any                                  May 20, 2024

It is

       FURTHER ORDERED that respondent submit the documents listed below by the
dates indicated.
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                 United States Court of Appeals
                            FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________

No. 24-1077                                                September Term, 2023

        Entry of Appearance Form                                      May 6, 2024
        Procedural Motions, if any                                    May 6, 2024
        Certified Index to the Record                                May 20, 2024
        Dispositive Motions, if any                                  May 20, 2024

It is

       FURTHER ORDERED that briefing in this case be deferred pending further order
of the court.

       The Clerk is directed to transmit to respondent a copy of this order and a copy of
the petition for review.

                                                         FOR THE COURT:
                                                         Mark J. Langer, Clerk

                                                 BY:     /s/
                                                         Erica M. Thorner
                                                         Deputy Clerk

The following forms and notices are available on the Court's website:

        Agency Docketing Statement Form
        Entry of Appearance Form
        Request to Enter Appellate Mediation Program
        Notice Concerning Expedition of Appeals and Petitions for Review
        Stipulation to be Placed in Stand-By Pool of Cases




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